               Case 1:18-cr-00388-RDM Document 101-1 Filed 02/05/20 Page 1 of 26

uunntuuu             -cofiM. JOURlfAL-   ntuuuuutnttt        DA'l'E MAR-11-2000       tun   TIME 00:36   tttunt



      (IJ:)DE = tmJORY TRANSMISSION                       START=MIR-11 00:30           END=MIR-11 00 : 36
        FILS NO.:a679
STN    COMM.             STATION NAM!/BMAIL ADDRESS/'l'BLEPHOHE HO.                     DURATION       Government
                                                                              PAGES
NO.                                                                                                      Exhibit
                                                                                                             28_1
001      OK              D8552Ul179                                           016        00:06:04 ' - - - - - - '



                                                                     -I R S RICBMORD VA
••••• UP-7200     tttttttttttttttttttttt      - INTBRNIL RBVBNUE-   ttttt -            804 916 8145-     ttttttttt
               N•r~ '5 12:46p   JofiMyMoora                           2022901078         p.l

                ~ y.tWf I.-.i"o~-cr fl:>-ilttS       A~·w.~""* CfD ~; ~.-. Pt•tkrs,ij
                                                                     ~Kotl g ..J..3·~15




                                                                                                             US-0010518
                                                        028_1
-----------~~
 Mar231512:46p
               Case 1:18-cr-00388-RDM Document 101-1 Filed2022901078
                  JohnnyMoore
                                                           02/05/20 Page 2 of p.1
                                                                              26

    {l)   F~ J-<6'o ~-cr J-b- if '1.5       AiVJt w, ~i1lrk C(o ::r~i L, Pttfu.so~J
                                                                           FI'\KoW 3-.;L3-oU>l5



              (6    (,V   hom.Tf f1'1-11:~ fA NUX N '•                  £     N    t~IDs.d_ Lfo I{
          Wil( h·N~ $--hl?r\f£-~ 6pits                               c.f     tfrntNJE<{ /D lfO){

      A/6N~ with tht.. {ru.: PrE-~YTrlf(~;~NJj                                                       Powf.-r                      of.
    A-thn.Je.y .P:,rM. Jltt:s Gh~tr~~TakwsotJ ,·s A/nt'tclf
  0 rJ -(; k r(Jr G./ if. Nh :s;; ~~~~~ ~~e{fw,s Moort.-                  3 <tlf
   1t]\'tR. (li(' LA If- r.~t fY1M i fr r Mh~ru             3 5 7 if                                                    I • •          -




     fo ( rVt r-thf., r j:N fo,.. m~-h·t) ~ '-{11 Gl4 tJ CfiIV'i;t ur £dltF.-r
                                                              LA..


  AJ&Nt J4 t P"Jc #:,;LtlJ-- ,;2_ '1 0- It> I"
                    rA-,!1 #" d-Da- 5'i .5- '.;Lf2 (Jo~..w~ ~ t~~J
                   cfi-11 #" ,;1.6~-9DI~ 93tf~ (111ftriP./=)'!1nor::}
    J11ti /lw~;    Po     Sot l 5V-~                                                        ~
                  Wl\-s. h pu,;Looo3                                                     o,.. '>o~
                                                                                   A'v. ~~                ;.</.c.-
                                                                                ~;, " c:.-....... .• o . .
                                                                               ,;; •
                                                                                ·-?,
                                                                                  V;'l   ''?,.>, "(a

                                                       ~tJf
                                                                             ~...,~m....~~
                                     _..rr. •_.t.. _
                                     .   ~
                                                               ~
                                                                 4ov..' r     -~.~~ 11.;,;~-?~ .;~: q!" •.
                                                                                       ~~l)   ":o_p<.'"

                                                                                          "o...~-.,~
                                                                                                          ~~{5> ...~ ..'St.-
                                                                                                         c~ 0..:. ~
                                              :;..:y
                                                u
                                                     Vf (.,Co/                                   ••: ::1~ ~.. "i~ '·O
                                                                                                     ('.;:;:;;o# ;,!...~~i •.1,:~v-_. . . I?~(7" ~""
                                                                                                                                                  ',,.,
                                                                                                          ' .S..-:., .. 4                  "'4
     ~ ~t,*: n<et..:••Ji1(~                                                                                     -<cfz ·~<;'


                                                                                                                                           US-0010519
                                              028_1.0002
                   Case 1:18-cr-00388-RDM Document 101-1 Filed 02/05/20 Page 3 of 26
Mar 23 15 12:46p      Johnny Moore                            2022901078


                                                               In reply refer to:  0~69241048
         AUSTIN       TX   73301-0030                          Feb. 25, 2D1S   LTR lDSC   0
                                                              11111113574 201112 55
         71617,17928562382155                                 ~p:           1486841048 00005127
                                                                                   BODC; SB


         HARIA tiOORE
         PO BOX 15428
         WASHINGTON DC         20003-0428




         CERTIFIED MAll
         Taxpayer ident1ticatian number:         11111113574
                                 Kind of tax:        Income
                            A~ount ~r clai& :    c            lS,ODD.OO


                   Date of clai•Cs) received:     Aug. DB, 2014
                                 Tax period :        Dec~   31 1 2011



         Dear Taxpayer:


                                  WE COULDN'T   AL~OW       YOUR ClAIH

         WHY WE'RE SENDING YOU THIS lETTER
         We disallowed your clain for credit for               t~a   period shown above.

         WHY WE CAN'T AllOW YOUR ClAIM

         We have disallowed your claim for abatement.  You did not submit a
         valid return within the thirty day time frame given to you in letter
         3176C dated April 30, 2014.

         I~     qualify. you may file a request ta have your frivolous return
              ~au
         penalty reduced.  Under JRC 6702(dl qualifYing individuals •av file to
         have their frivolous penalty reduced to 8500.00. For more in~or•ation
         visit our website at irs.gov. search for Form 14402. Form 14402
         contains eligibility. payment, and filing instructions.

         IF YOU DISASREE
         If you da nat aaree with our decision, you can file suit to recover
         tax, penalties, or other amounts, with the United States District
         Court having jurisdiction or with the United States Court of Fedaral
         Claims. These cour~s are part of the judiciary branch of the federal
         government and have no connection with the IRS.

         The law permits ~au to do this within 2 years from the date of this
         letter. If you dacide to appeal our dacision first, the 2-year period




                                                                                              US-0010520
                                              028_1.0003
                Case 1:18-cr-00388-RDM Document 101-1 Filed 02/05/20 Page 4 of 26
                                                         2022901078          p.3
Mar231512:47p     Johnny Moore


                                                                           0~69241Dti8
                                                        Feb. 25 1 2015
                                                                 LTR lOSC   0
                                                       ~3574 2Dill2 55
                                                       ~Op: 1486841048 ODIOSl2B
        l'tARIA KOORE
        PO BOX 15428
        WASHINGTON DC     20003-0~28




        still begins fro~ the date of th1s latter. However, if you signed
        an agree•ent that waived your right to the notice of disallowance
        (for~ 22971. the period for filing suit begins on the date you filed
        the waiver.

        If you need for~s. schedules or publications to respond to this
        letter, you can obtain them by visiting the IRS website at www.irs.gov
        ar by calling 1-801-TAX-FORH Cl-800-829-367,).
                                HOW TO CONTACT US
        lt   you have questions, you can call us tall free at
       8,,_883-1235.

        If you Prefer. you can write ta us at the address at the top o# the
        first page of this latter.
       When you write. include a capy of this latter and provide in the
       spaces below, your telephone number and the hours we can reach you.
       Keep a copy of this letter for your records,
                                                       Hours _____________________
       Telephone Number C
                                '-------------------------------

                                                Sincerely yours,




                                                Jodi L. Patterson
                                                Dir •• Rtn. Integrity & Carr. Svc.
       Enc:losureCs>:
       Publication 1




                                                                                     US-0010521

                                                028_1.0004
                       Case 1:18-cr-00388-RDM Document 101-1 Filed 02/05/20 Page 5 of 26
                         Johnny Moore                           2022901078         p.4
 Mar231512:47p




                                 1172           Depmtment of the TrHSC.~Y- Internal Revenue Servfca
        Form 668 (Y)(c)
         CR-. F'eobNvy 200<4)                              Notice of Federal Tax Uen
        Area:                                Serial Number
        SMAll IUSINESS/SElf EMPLOYED AREA 13                                                   For
                      CliO) 913·' 8          119133314




GGU17
        --------------------------1• See tl'la back of this page for an
        Residence                                                                                  explanation of ycur Admlnlatmtive
                            PO lOX 15428                                                           Appeal righ!S.
                            IASHINSTOH, DC        20~13-0428




        Kind of Tax
                           Tax Period
                                Ending     Identifying Numbiltr
                                                                                   Last Day for
                                                                                     Rllllftllng
                                                                                                            ung:,.s:ance
                                                                                                            of      mem
              (I)                (b)               (c)                                  (It)                        (f)
         67UA             1Z13l/2Dll        XXX-XX-3979            Dl/ll/201~     09/10/2024                      150DD.OD




        Place of Filing
                                OFFICE OF RECORDER OF DEEDS FOR
                                WASHINSTOH D.C.                                             Total                15080.00
                                WASHINGTON~     DC 20001

        This notice was prepared and signed at _ _B_A_LT_I_NO_RE_,_MD
                                                                    _ _ _ _ _ _ _ _ _ _ _ • on this,


        lhe Ulth     dayof       Stptel!!lber                2014 •




                                                                                                                                   US-0010522
                                                                  028_1.0005
                        Case 1:18-cr-00388-RDM Document 101-1 Filed 02/05/20 Page 6 of 26
  Mar231512:48p              Johnny Moore                                              2022901078                  p.5



  lf"dlJRSDapubiac:oat of'tln Tr.lllll)'
  if111J     llll•n&l 'l'&ftnllllll &enlee      CERTIFIED MAll
     CC:P-LU W. STAll                                                                   lettar Dale:     09/23/2:114
     P.O. lOX 11085, ROOM 160                      71617618363749177915                 Tupay~rldentifbdlon      Number:
      RICHMOND, VA 23240                                                                XXX-XX-3979
                                                                                        Person to Contact:
                                                                                        W. STARK
                                                                                        Contact Telephonr~ Number:
                                                                                         (804) 916-8129
                                                                                        Efi"IP'oyee ldllf'Stiflcdon Numlbar:
                                                                                        UOZIS8227
               .JOHMINV A MOORE
               PO BOX 15428
               WASHINGTON. DC 20003-0428

00151?



                     Notice of Federal Tax Uan Filing and Your Right to a Hearing Under IRC 6320

          Dear JOHINY A HOORE
         We fired a Notice of Federal Tax lien en 09/25/2014 •
                       TpofTu                                     AISHS~~~ent   Dlle           Amount an lhm
                                             12/31/2811             Ollll/20llli                  1§0110.01




          NOTE: Please contact 1he person whose name and telephone number appears on this notice to obtain
          the current amount you owe. Additional interest and penalties may be increasing the amount on 1tle lien
          shown above.
          A lien attsche!f! to all property you currently own and to all property you may acquire In the future. !t alsO)
          may damage your credit rating and hinder your abiUty to obtain additional credit
          You have the right to a hearing with us to appeal this collection action and to discuss your payment
          method options. To mcplain the different collection appeal procedures available to you, we haw
          enclosed Publk::atlon 1660. Collection Appeal Rights.
          You must request ~ur hearing by        lDr.iO/ttn.. . Plaase complete the enclosed Form 12153,
          Request lor a Collecoon Due Process or Equivalent Hearing.and mall It to:

                                               Internal Revenue Service
                                              P.D. IDX lOOB§, lOOM 8,0
                                              RICHMOND~ VA 23240




                                                                                                                          US-0010523
                                                             028_1.0006
                             Case 1:18-cr-00388-RDM Document 101-1 Filed 02/05/20 Page 7 of 26
                                                                                                                                                      ::5:
                                                                                                                                                      ..,liD
                                                                                                                                                      !'>.)

                                                                                                                                                      ....01
                                                                                                                                                      c.:l



                                                                  u.                           H I U~H ·I ~!I
                   l

                   ! i Ill~~~
                                r "
                                   II 1         ! Ill'I' I tlt
                                                          l(lht
                                                          I.. J        I                           ff Ir ~~~ =~=•JII~
                                                                                              Il Ir I;=.       ~~~ J
                                                                                                               !;..  ~ ~ .:~~~ ~ ~
                                                                                                               ;; I 8- :31
                                                                                                                                 •


                                                ~-= I
                                                    ljI
                   l     I         J II                    I      I                  I             ..      .. ...

                   I I ;i! II
                                                                                                                      Cl

                              r                 ~
                                   I
                                                    Jjl   •r•lt
                                                         iI fl'                                    tl •l
                                                                                                   t.                                                 S':



                   IJ IJI I
                                                                                                                                                      8
                                        I                                                                                  I
                                                    ,.~ li(•
                                                                                                                                                      it



                             o ri

                             1ril
                                   If
                                                     IJ.
                                                    rl 1 ~ ilrlIf
                                                    l '       ~~I
                                                                  J
                                                                                     •
                                                                                     I            I I                      I
                                                                                                                           I;,
                                                                                                                           '
                                                                                                                                      I
                                                                                                                                      I
                                                                                                                                      r
                                                                                                                                               II


                                                                                                                                               r
                                                                                                                                               l

                   J               i
                                                    Ill 111                                                                ~         !Iaif IIas.
                                li
                                            I
 0
 1\)                                        i
lr::t:J
 ~
                   f lI                     '
                                            I
                                            :
                                                    -=
                                                    i     ;
                                                          :   •!lr                   r~           r~      1                           I        a.!r
 0
 0
 0
 ......
                                II
                                            '
                                                I   ;i II
                                                    ~~I'
                                                 ~ !I
                                                              ltJ•
                                                          ltllrf~i~~il~~~,,~i~·~J~i~
                                                                                                          •
                                                                                                                                      ff   -   fi
                                                    ... ;: I f' I J fJ I J IJ I , I' I ,
                             CJ .I .



                             1rr·J                                             !I
                   F                                                                                                                  I
                   :                            1-·
                                                           I           J I I, I I ~
                   i                                I     c
                                                                  ~        ~     !

                                                                                 !
                                                                                              I   ~
                                                                                                  f
                                                                                                                                      'r
                                                                                                                                      I
                                                                                                                                                      ~
                                                                                                                                                      1'\J
                                                                                                                                                      N
                                                                                                                                                      ~
                                                                                                                                                      ....

                               l:.                                I
                                                                                                                                                      0
                                                                  a                                                                   (
                                                          I

                                                                                                                                                      al

                                r.      1       ~
                                                      11
                                                    JfC I                  J 1       J    I       J
                                                                                 1
                   i
                   ,..          J:i
                                I.
                                I.~
                                        ~
                                                i II
                                                !
                                                •         j
                                                                  i'
                                                                  I ,
                                                                           l                  ! ll
                                                                                                  ,'1
                                                                                                  D
                   i
          c
          (J)
           I
                   •               D
                                  ID
          0
          0
          ......
          0
          01
          N
          -"'"
                                             Case 1:18-cr-00388-RDM Document 101-1 Filed 02/05/20 Page 8 of 26
                                                                                                                                                                                                                                                             s:
                                                                                                                                                                                                                                                             ...
                                                                                                                                                                                                                                                             I»
                                                                                                                                                                                                                                                             1'\.}
                                                                                                                                                                                                                                                             (o)
                                                                                                                                                                                                                                                        ..   .....


                                             fJI
                                             ffgI 11
                                                  fi.
                                                           n!~~litilflhti~lhjHiiHU
                                                             i~   ~ifa!lls.
                                                                  ouo
                                                                                   Hf!. \'f.·' ~H; !,!~ii(~~ nsi"
                                                                                    !
                                                                                    a. !              r    D
                                                                                                              !fJ•:
                                                                                                               iii ~
                                                                                                                 its;         '"lllristl'o
                                                                                                                                lt     :1   a          .fa
                                                                                                                                                                     1::
                                                                                                                                                                     !;~ "fl:         !ar..sJ
                                                                                                                                                                                            i"- !l    ~~ ~ • li .                              tt     ~
                                                                                                                                                                                                                                                             '"
                                                                                                                                                                                                                                                             .....
                                                                                                                                                                                                                                                             N

                                                                                                                                                                                                                                                             ,t

                                                                                                                                                                                                                                                              5-
                                                                                                                                                                                                                                                              :::r
                                                                                                                                                                                                                                                               :J
                                                                                                                                                                                                                                                               :J
                                                                                                                                                                                                                                                              '<


                                                                                                          fi ~~
                                                                                       ~ if li fi § -.. 1 r! s                              I~ f'-
                                                                                                                                                                                                                                                               :s:
                                               t 1-                                 a tg
                              .LLL"r~       J 2;fl;]JhHUii tif;i{ H~PJ f. ~~ ·BiH ~HI!
                                                           1                  i,                      '                   i • it tf t                                t·                                                                                        8
                                                                  :uz

                                                                                                                                                                                                                                    tt)J                       a

                                    •   ,     . ~~§'.
                                             snh! !
                                                ib"rl,·  ...
                                                             n·A~ a~;.~ ~~ ! f. !;.• ~' !• il li·
                                                             ji I; UH J f: i.:: i :11
                                   l~liillf ;~ -~ !i~t~h l~hf i"h !. !--. -lla a f!l P·h                  Iii If/l

                                                                                                               l Ui!                        h ~,                                                     ·~~ h
                       I

                       1-·-t--1-   '~JH: ~ !; H• t'H4H~ i Hi rh : ¥!,1, I~.~;
                                 ·-+----·-i r ~ 8 i11 ~~.. ~r~.!U' g :'! hl
                                                                                                           H1 ~HJ
                                                                                               iii;:::r ;~Inn.
                                                    tf f f f if z:l · 1   ~ f .- il I !~. . ~ !! '.: a !l ~ ;J e.11a
                                                    ! .if ~~J fU      ~ i ~!!                        I 2. i~ J1j j~ H
0                                         . ti                    z 1:                                                                           ji                                                                       1
                                          : !. !'~iii!~-~~;.
                                                                                                                      "R
N
ICIJ
                                                                §I li j
                                                                          HI i Iff•   ic: !Hi
                                                                                            llfl\!0'!
                                                                                                                                                       ~                          .. ~ • •               ·•~
                                                           c~~ iif
                                                                ~-~ ~~~~~~.!.}                                                                                                    E~h' ~       !laJ~~
~
                                                      '9'                                                                                                                                            E                                  og
                                                                                                          t• •                              if                   ,           ,                                                     ..
0
0
                                                      I •
                                                      t k
                                                                        !' •
                                                                         i·l al
                                                                                        il        •
                                                                                                                               1!1 a•
                                                                                                                                            2.
                                                                                                                                            ~o H               Ji            i:   -,~    jfit!
                                                                                                                                                                                         B' • !If
                                                                                                                                                                                                 5
                                                                                                                                                                                                    a                                   Q




                                                      ! l ~YJ ~H ~~~                                                                                                               ~~~~~~ i: i;Ja ~ I!.~~. . ·
0
                                                      . •                                                                      •q
                                                                                                                               iH I~ I !i
CIJ                                                                                                             I                                              ••                              ....

                                                                              (i!   i                                                                                        i.
                                                      : l~ :'1~ ••~ i i! fu   h -~ t•                                          ~~                          I ~ ~ ..1t:             ~ •~1;·'! ! H~· i
                                                                                                                                                                                                                                        1
                                    r1
                                              m

                                              I       '       ·
                                                                  ll
                                                                  z       ='
                                                                         he V  ~ ii
                                                                               ..            «:                 c:           . -
                                                                                                                                                 1
                                                                                                                                                               -1                                    ,. . P..                                                        2
                                                                                                                                                                                   :J•a, ·~"'' •11 •
                       r                                                                                                                                                                                         :t                     1                            8.....
                       I
                                     I.  •
                                                         a ~"5 J         ,~gIll.
                                                         J i~ !.. ~ I~ .f j Ql
                                                                                                                                   •
                                                                                                                                   i
                                                                                                                                   ~
                                                                                                                                                 •
                                                                                                                                                    I i'
                                                                                                                                                           '     !
                                                                                                                                                                                   of~=·J·a-}i                ~                                                      0



                                                                                                                                                 I~ i l I i                       ~-:!4~2~ !l·.~1'.1!
                                                                                                                                                                                                Hii jH
                       I                                                                                        'r.   r                          B'.                       <li                                                     f=                                 Oi
                       l                                                                                                                                                                g   i :

                                               ~w~ ~ H~ Iti!if~ } ;.                                                                                  ~~ "!                          ~j .· 1 ~ l ~i~i
                                                      I


                       I                              I    Ill
                                                           I
                                                                      J
                                                                  l'J-.        (@!           llgfl
                                                                                                      ~         !if
                                                                                                                                                           l -:  »:
                                                                                                                                                             :<i It!                                        -;c
                                             a ;;. i
                                                                  CJll:\1
                 !                       '            I
                                                      j i                      •
                                                                                                                                                                                  0
                                                                                                                                                                                  ;t
                                                                                                                                                                                     'II
                                                                                                                                                                                                          :ill        I       '
                                                                                                                                                                                                                              j:
                                                                                                                                                                                                                                        ...   :1




                              ··-·-·-·+-·--1 ~~!I.     !)~.~ ·•                                                                                                                                                                         ~~
                1
                il
                !I                       :
                                         '            I                                 I
                                                                                        Ji   lillli!ii          3     •I                         l             q!
                                                                                                                                                               f:            .l   m                       a.          !:
                                                      I     ,..



                                                             It l I
                                                                  ...                        !I'
                                                                                                                                                 !                                :-1
                                                                                                                                                                                  u.a
                                                                                                                                                                                                          D                   '         'i




                                         ~ t ill ! •• J ~ i
                                             ~                                                                                                      ~ ; ;;'i ~ U                  J J. ~.,
                                                                                                                                                                                                        ·111 i
                 '
                Jl&;~~.. ,·              I
                                         j
                                         I    ~~
                                                  2  II
                                                      I;
                                                                  L

                                                                  ~~m:::-<l'i
                                                                               I
                                                                                        P,

                                                                                                                f
                                                                                                                      r•                         •
                                                                                                                                                 1~
                                                                                                                                                               ·.i

                                                                                                                                                               ~j
                                                                                                                                                                            '
                                                                                                                                                                            :                             :I Z
                                                                                                                                                                                                       •:Jhi: :l
                                                                                                                                                                                                                      !       !         9
                                                                                                                                                                                                                                              q    ~~
                  •
                ,!,,
                                    "" .I
                                   '"{                .
                                                           P
                                                           ;,
                                                           !'\
                                                                        l! ..
                                                                        --4                       a             aii   •
                                                                                                                                                 . . ;. . .                       jU
                                                                                                                                                                                                       ~.                               0           ,.,

       c(J)
        I
       0
       0
       ......
       0
       01
       N
       01
                                 Case 1:18-cr-00388-RDM Document 101-1 Filed 02/05/20 Page 9 of 26
                                                                        2022901078          p.8
Mar231512:49p                          Johnny Moore




   VCI:I!'firiUIIIIM c."'dlllllillll                                       !.at-                                             ;   'ra.~rMIIWSIHII!rifltlllmk
   _J_o_H_Nw_v____~~-------------------------•-o_ORE
                                                  ______________________~;IIIIIIIIIII 1                                                                  t      1   t
   tra):ill'llt19tl.m.l~·sknamu..<odWIW                                   l.llltn!L'M                                        ; SIIOII&tt'lll.....,.~mlii!W
    NMJA                                                                 'MOORE                                                                      3   s      7 4
   ~.d~tnu;,;~a.;-.i'Y:'h;;."';P~o:-~;;;;~~·----·~---~·.,,,

    1101 44TH PLACE SE
   c ill'. bi:n or~ otea. ea• atdZIP =a. II' )'alii!- all:di!FIIdi.'llla~ also
    WASHINtrrOH • OJ; 2GG1D
                                                                                        p«MnCIIrt'~

   . " .. _,·-·----~----··-·~·---~·--__ffl3.J..8 ..l014. , ' .. ··~ .... _.,,_"'··-·-·· -...... ~~-
   Amendad nturn Qne • • · Ycu must d'!6Ck one bCJC even if y.ou at& not chal"'ging your filinosJ.atatus.
   cau11on. In~~ you CW11:!0t cmngeymx li6ng s~ tom pitt tot@~~~~ this "'-dale.
   0 ~gb               EJ Mim'ild lilllCI k:i\tl)'   0 ~lUng s~-v~ :,"'•"' ·~
   0 O!:!ii>!I!!OW~                         0
                          HudothoW!o&l'tol:l !If lto.eq.~~l!g pors::~r. ill .a e.'lltr&.~..oiyourdepcndMI. •eo ~~




   TuUabfll:y
     a       Tu. Enter method 1.111td to ~Lire tax ($ll0lnstn.IC~):
             2t:lt1' T.I\X T.N3t.a                           ,.                   I
     7       Credb. If ~enerar bustl1l!!M credit carrybK:k Ia II'ICluded. check ~~----------~---------4~--------
                                                                                ,                              0
     I ~tli1~~7 ~m-h S: If~~ re~l;is ~ ~ ~~~ ~;-()~                                        ,..O :. . -=!'--'----~~---~:----~2~,.=-
     9       Ot.hertaxn, . . . . . .                                                             o.-;9~---~~----~---=::::::o~
    10       TotaUax.. .Add !Ina 8 and s          . . . . . . . . . . . .                          10   !                                                      2.&
   PBymedtS
    11       Fedtmll income tilt withhl!lld .a11id •cas social security and tier 1 RRTA                                 2.3'71
             w Wil.hheldl[ifdulnglng, see in5tnlctions) • • • . • . • • . • ._.~11:......_ _ _ _.....;.._ _ _ _....__ _ __
    12       E'alimated mx payments, im:ludlng M\t:!Unt applied from l)r!or year's
              nslum • . • . • . . . . . • . . . • . • . • . .
    13       Ewi'H lncmM credit (EIC) • • . • . . • • • • • . .
    14       Rlluiw.labeci!KII.s rmrn Sdtedul!!{s] 0&812 ar 0 M or F~ 024!1
              D·n:l& 0540!lo 08801              [).g1::!(2tUOcr2Df11   DaM       Ou63                                   II
             081165 or 8ott~cr.:Spcdfv): W'l: SUPPoRl'JNG DOCUMENT
    15       T«aa am."JI.H'lt f)lki Mth I'EIQIH!St fot lllitmion of lim& to fills, ~at; paid wlh or@i'lal return, and additional
             tax pald after rewm was flied . • . • • • • • • • . . , . . . .                                                     ,....•1--5~)!-----::':"'::-=o=-
    16       Total pay!!!!!!Jts. Add lines 11 1ht0lJ$1h t5      .   • • • • • .         • • • • • • • •                                   : 16 :         41 1.571
   Refund or Amcluht You: OV48 {Nof& Allow 8-12w.Hb i:P ~Form 'ltUOXJ
    17'      overpayment, If any, usflDMt on original return or as pr...-101.1$~ ad}u.stsd b!f the IFIS.                                  · 17   I               112
    18       &lbltactllne 17from 1!1118llflau!;s tharl.teto, seelnstruetio~ • . • • • • .                                                 : ta ·             41&,451t
    19       AmCIW'It yaupwe.. If line 10, eolumn C, iB mora lh&n ltne18 1 1!der 1!\e dirfefl!ll'lce      • •                              U1 :                     I
    20       If llrut 10, column c, iS Jess t111m nne 11, enter me diffareilca 1lis l.$ the amount owerpaid on this rewm                  :aD:           4'tlUGD
    21       Amount of ~~~~e 21J' ~ 'Mn'i: Nfi..Uided tel )IOU               • • , •                 , • , • • • •                        ' 2:f~ · · · ··:.11:uo
    22       A"'''C!Jftl of h 20        e
                                    wan! :!1!13lled to your (anter )!!CUi:             Mtimabad tall , .22..




                                                                                                                                                                    US-0010526

                                                                                  028_1.0009
                Case 1:18-cr-00388-RDM Document 101-1 Filed 02/05/20 Page 10 of 26
                                                                                                                        p.9
Mar231512:49p      Johnny Moore




                                                                                                   ICJ D«W-mr.l's
                                                                                                  ~r:r.ip ll:l y.l&;




                                                                                       VUJR
            .,. AI:Qc:lh llnfll.lppcllting dl:lcUmenY. *ld ,_.. ar dullnga:i fDtml and~
          FORM D811S A1TACHED FOR IUPPORnNG DO CliME NT" niE TAXPAYER A.lltNISHED AU. SUPPORTI'NS DOCUIUilllfT5 FI'JR
          Tlil: 20f1A.MENDiolii5NT.IF ADom::aNAl SUPPOI!mNG DOCUENTATIQR IS IEEDED PLEASE CCINTACTTHE TAXPAYERS.




                                                 ~l:ljfl.               ~IGVACCOIJHTJNI!I El\'IICES
                                                                       ~s-. !I:II'')ICI:n !IaM-mi~

                                                                        PO BOX 1'21 AIIEROEI!N MD 2"'1001
                                                                        p;.;m-,~'111111 nd ziPII'lll1ll&
                                                 c ~lii!Ciil:   lwil-lmpll¥'d                    401121111             5222511SG




                                                                                                                                   US-0010527

                                                                     028_1.0010
                           Case 1:18-cr-00388-RDM Document 101-1 Filed 02/05/20 Page 11 of 26

                                                                                                                  2022901078                        p.10
Mar 2315 12:50p               Johnny Moore



                                                                       O.~dtle~-lfltllrllal~s.na

                                                    Amended U.S. Individual Income Tax Retum
       f'1!!11'.~20'f~                      •~••bC~Utf'cxm1040XIIIIIIIdftu                                                         1t)io~Qr.

       Thlsretumll-fci"Cia~,_.                             2013        02012     2011
       Dfl•-,-•- Enter                                                   orlacal




                                                                                                                       44.'12!11
                                                                                                             1
                                                                                                             2         1&.010
                                                                                                             3         il.111
                                                                                                                        7,4110
                                                                                                             4
                                                                                                             5         2Q.711
              l.iaiblitr
         cs     Tax. em. ITII1hod l..ll6d to ft.suralal( (Me~):                                                         2,29                               uu
                2tri11'AX T..'\81.£                                                                          8
                                                                                                                              0
                                                                                                             7
                                                                                                             8          2.211

                                                                                                             •
                                                                                                             10         un
                                                                                                                            0


       ~
       11  Federal income t1rx wl!hiMUt and~ soc:ial uc:urity lll'!d tier~' 1 RATA                                      2,!71
           laC Wiltlhefd Cl dW!Qina,aee ~ . . • . . . . . . •                                                11
       t 2 &lllmatecl tu payments. Including amount applied 1mm prier year's                                                  0
                ~oil         ..   +   'jo    "'"'   '8.    t"'    ..   0'"'   ....   II   a   "'.   ""llo.
        13      &mad iN:::ome c:mdlt (EIC) • • • • • • • • • • • • - •                                       13
        14      Aeh.nllll:!lll crdt:l fKim Sl:hedufll(a8   Oaatzar Ow or~ Oz.ao
            04t:M Osa Oucn OA12(20aoor2011) OU39 Oall83                                          0
            Ouas w 1.21ottulll' (lpiM::IM: aan StFPOATIIIIG DOCU!l.EHT         t...!.:14:::...t..-----'---.....----11------
        1S Total amount paid with ~for ~en of time ta fie, talc pl!!i:S \llilth original retum. and~
            tall!: paid 8f'iillr nrwtn wu filed • • . - . • • • • • . • . • • • - • •                      15
        15 Total            e                11 ~rot~ 15 . . . . . • . . . • • . • . • .                   11
       Refund or Amount                     (MIM. Mow8--12W8tllb to~ Folm 10«J)lJ
        17 ~ If any, as nwn an original mum ar as pnwioud11 adfutlted by the IRS.
       18      SubtraLt.liM 11 from line 16 (If lea t1um zero, see Instructions) . • • • • - . •                                               18
       18      14mountyou ewe. If line 11.'1, cclumn C,ls l'lll!.lt• :han 1M 18, «*..f the diflerartc& • • •                                   18
       to      If line 10. cclwM c. Ia lea ttlan llnil 1 B. enter the diffl!lftlrtce. 'nib i.s the amount ovei'IJiilid Cll'l this nmm
       21      Amot.U'It of llms 20 you 'M.11t refutldar.U.o )IOU • • • • • • • • • • • • • • • • • • •
       22      Amwtaf 1!n11120        want W10                                                ~ Ull • 22




                                                                                                                                                                US-0010528

                                                                                                028_1.0011
                        Case 1:18-cr-00388-RDM Document 101-1 Filed 02/05/20 Page 12 of 26
                          Johnny Moore                           2022901078         p.11
Mar23 1512:50p




                                                                                                           !A~~
      Sll!le Form f(U(j or R:lml 104QA ~Met Foltl'l 10(0J( lmtrudif.IIB.

       23      Vcusel Mel ~ CautiM. If ~ am cWn JIOU .u e
               ~t, ~ camotdaiman a.mmpr.la!J for~.                               ..     23    .
                                                                                                           !~
                                                                                                                  lllliii&Sad
                                                                                                                                        B.N!rt~

                                                                                                                                                                     --·
                                                                                                                                                              c. Ccil"'ld
                                                                                                                                                                IIIIAIIIII«
                                                                                                                                                              ....

       tH      Your~ ddfmm Who l!wd wfth \IQJ                          ....         .   ~
       25      Your depllldst chikhn who di::l net he w!f.h yau due to dlvmc.e cr ~ 25
                                            .. .         ..                . .  .     . 211
                                                                             .. .-
       2llil   Other dependents .
       27      TaW nl.ltl'lber cl aemptlC!liL Add llnu 23 through a                   . 27
       28      Wl:iply ttle number of er&mplionlll c:talmrad en lll'le 27 by the exemplion
               amount ~ in tfMI ~ far lin• U few the year )IQIJ are
               amending. Enter 1111111 ruult hent and on line 4 on p;a;e 1 of lhis form. • 21
       21      J,.Jsl ALL'           l{l:::hitl"" and Dthi!A) d'Unl!ld 011 tws       I relum. If ru:M'I! than 4                     I   1181!1

                                                                          l.b) ~~~5C!Cill
                                                                                                                                              CdJ ctleck bcc If ql.ldl');ing
               C;l) Fm 1'1111118                  l...lsln81M
                                                                            ~nun"*
                                                                                                              ~~~··
                                                                                                           t'llllllclnlllhip Ul ~
                                                                                                                                             child fer cHid tu uaclll £-
                                                                                                                                                     ~




                                                                •• Fane
      Checking belaav \MD not in CHIMe ycur imt or reduclt yt.U" nlifund.
      0 Cback hl!!nit If you did not ~IJ!IIIy want $3 llli go to h!lli.lnd, but naw do.


                 Ttmi IS 4. CORRECTED AIWIICIIIOED TAX RE'T1JAN, PLEASE DISREGARD THE I!!RROIIIEOUS 1040X SUIMITTB) PR£\IIICIUSLV.

                 FOAII.\oJin1SATTACHEDFORSUPPORTING DOCUUENTA'IlON. THE UCCTAXAD.JUSTllliiNTR!ED~TIOH. THE
                 IINR:llWI.TIIlNAI.. FORU 121:1 OISfll.AVS TH£ ~AND ORIGINAllY ISSIJEl) DEBT INSTRUW:Nr THAT RECIEEMS THE
                 PAIIICIPPIL ANOUNT. UCC !1-3115 (aJ AND FORM 81 ~SUPPORTS THE SECURITY flti1'E.R£ST OF THE DEBT. nE
                 SECI.JRllY IIIITERIST &S ATTACHED TO TH£ IDDmfiABI...£ !PROCEEDS Of THE CCUATERAI...



                 'l1'I!E TAJGPAYER RIAMSHEO AU. SUPPORTING DOCU&ENTS fOR THE 201'1 AMBIDNE!IIT. IF ADDITIONAl. SUPPOFnfNG
                 DOCUt.tlii!TA110N IS NEEDED PLEASE CONTACT TH£ T.IUCPAYERS.




                                                                                     PO .BOX 121 ABERDEEN MD 21D01
                                                                                     l'llm"l ~ lnii!P CC!IIit

                                                                   0   ~~~~Jiiqled                          4U7QII86
                                                                                                  l"'''ln! /UIIII:Mif                       IEIN




                                                                                                                                                                              US-0010529
                                                                                028_1.0012
                   Case 1:18-cr-00388-RDM Document 101-1 Filed 02/05/20 Page 13 of 26
                                                              2022901078         p.12
Mar231512:51p         Johnny Moore



                                                         ~CIIha~~SIIrlb
      J1040X
     ..,.~.,_
                                            Amended u.s. Individual Income Tax Ret~n




     Aaalldedll'llllum ...,....._ Youlllill.lllllctteckOMbmi:_,l~amnat~)'CU'~-.
     ~m ~youC8VJOtc:hlinp)Q.It'-..._~tm]rJtrfao__.,.,..,_.a.diltf&

     0 l9lfVe                        lllManflad -.~             0   Mlrrilld---illliiiiY

        1    Mjuslllld . . . inl::lclrla. II'
             lndudad. ~.....,. - • • • • • ~
                                                '*   ~ lag (fiD.) ~ I&
                                                             . • . • •    •           •o
        2    Itemized dlductiams ar•iidllll'cl tllllilll'cll . • • • • • • • •
        3    Subb:iladh2fn:mh1 • - • • . • • • • • • • - • .
        4    . . .ipticllllll.ll ~· c:;ampll* P'!lnlllln lllfiiiiii2Md . . . . . .
             -ann .... • . . . . . . . . . . - .

        8    Tu. B'lll!r~ UIIIIIICI tDig&n1ax (sea~
             2!11 T.g: TMJ.E
        7    Qalts.. II' gllnllnlli ...,... cnadl ~ .. i'lclaldllld, d18Cik
                                                                                    Jar.D
             Sl.lbnctb7 fmmb8.1fdle nallisl!IIII'O   .--o-      ar-..
             t.. . . , .... - . . . . . . . . . . . . " . . .. . .
             OIIIrbl!lcll • • • • • . . • • . • . • . • • • • . •


      11     Fain! lncom&~IU~and..._..IIII'.IICillll'~-d&Jr1 FIRTA
             talollllhhlllld fllillllllllllfP&- ~ •              . . • . • • • • •
      12     E!lllllrnlhd - ~ lndul:llng .8III10Wd             IIPPiil!ld ffcm pial' ~
             f'l!llllln . . . . • .. • • ..          • .. • .. .. ""       " • • ..
      18     Elllmed ir'lclcmll Cllllldlt ceq        . . . . .
      14




      17
      •
      111
      :liD
     2'1




                                                                                            US-0010530
                                                                        028_1.0013
                   Case 1:18-cr-00388-RDM Document 101-1 Filed 02/05/20 Page 14 of 26
Mar 23 15 12:52p     Johnny Moore                            2022901076         p.13




      ~We pett.,.lfyau . . i~ot~iha number of~• {pillncni!IUid ~ d8lmact an h                                                                        6d Gf
      . . raQnyc:ILIB1iamlldG-

                                                                                                -·'.,
       S. Fain 10«JcrFolm JOI'M~MdA:Mt fo«<K~



       M
        •   ·-- -        ~ Cui I L II ~- QIIID dlilm )QI • •
            . . . .~)'l:IU ClilniiiGtdlimM ~lbryanralf. • • • . •
            VDU' dllplilan~wtao               .. .......
                                           !Mad...,
                                               )'aU
                                                                                          2l
                                                                                          •
                                                                                                        ~
                                                                                                                                        ·-
                                                                                                                        ............. c:.........
                                                                                                                                              Ollmilllll




       ••
            Ycu. .idndlldlwll'lllhodldllllltiiiii.-JIIIIU-10illmn:lll«...,....1
            Obtr depellldmlta •    . .. ... .     ......
                                                  . . .                                    I
       fD   Tallallll.llllbeta~Addtn.m~m          . ... ..                                rl,

       •    MullplyU.,.._ol_i.,_dalmlld en b~ll¥tile ..........
            &IIIIIOU'It llhown In ihe ~ b h 21 b' hit ~ you 1111'111
            amerdr\;. &lllrlhelw.allaan anlne4on page 1 all til bm. . Jl
       •    I.JitAU.        ,~.............. ..    ,. . ,        INUn.lfrra.taa ...                                     ,lit'

             NAill...,.                     I.Jildllllmll         tNG••,...lllCIIICIIIr
                                                                     ~...-..
                                                                                                 til) Dlipaadelft
                                                                                                •u      llii'Pil:l,au
                                                                                                                            MC~a*bm:IJ.i115*1a
                                                                                                                           c:Mdfwehild lila
                                                                                                                                  ~
                                                                                                                                              cnlldl-


      -
      --.,Jbaiawwill .......          I YDIB,_ ...
                                                         A.n:
                                                     ·-YIUM.Irid.




              PI..£A$1i. FORWJIAf.'l AU...IIIUJl. AMJ OORRESPONDIENCIE TD,
             PO BOX &421 WASHIIIIG101't DC~




                                                                                                                                                       US-0010531
                                                                      028_1.0014
Case 1:18-cr-00388-RDM Document 101-1 Filed 02/05/20 Page 15 of 26
  J,ohnn:v, Moore                                                     2022901078




               Total:
               Peid bl':
               C&ah
               Chin• Due:


              --·--- __
              tf far track~ 1\111 or ~ ~Jrt~ 10 to
              USPs.ca. or call 1·100-222-1111.
                                 ............. 6 . .~--
              •*••-...-...................          . . - •••*A•
              MI6HTEN Sll~Em!f•s IWUOX, &tut1ng cards
              ava1lllb1e fer .PUI'd!IIIIU lit select Post

             ·----...._-·--··-···-
             .....-....
              Offices.

                        ~ .....................................


             Drdar S1:11111Pll It USJilll.fPOI/Bhoat 01" e&H
         1   l-100-Stblp.24, Go tD I.IBPS.coatclicltflll:htp
                           ,   r   ,   '   !a   r'th   ···••=   Ear




                                                                                   US-0010532
                                                028_1.0015
                     Case 1:18-cr-00388-RDM Document 101-1 Filed 02/05/20 Page 16 of 26
Mar231512:53p                 Johnny Moore                                                                               2022901078                         p.15



    110401




   .......
   Caflla.lfl
                n~~~m-.-. You _.dllckanabaK~Wa I)'GI1Nrd~your81gdllb.a
                ~ ,_ esnnr:t~)'IM'. . .IIIblbajolntb.,..Nfrma ...,.,.. . dllla.
   DS~ng~~e                           fl1Mtnledl'llf1a~                    OM~mat- ~
                                                                                               ••
      1    Adjutlhd tpUM lncc:ma If nd ........ IDiillll lNOL) ~ •
           ini:Uiflld. d1ect hn . . . . . . . . . . . . . . . • 0
      I    ltltmized dctducloncs or ltlndan:l ~ • . • • • • • • •
      I    Subtract!IM2fmmh 1 • • . . • • . . • . • . • . •
      4
           arnDUnl......... . . . . . . . . . . . .
           Exa•iptbls. II~- ca~q~lllll FWtlan 111111111112 a d _ . 111e



     I     Tax. Enaer n'lllllllhod ..-:i tofigunttu . . . ~)::
           p1TAITMA..E
      7    Cntdb. If grnnl l:ulhllls cndt Wi)bdt II incldld, chl!dc
           hera. • . . • • . • • . • • • • • • • . • . •                                               •D
     8     SIMw::t line 7fn:lm line L If the ,_.Is Z8I'O                 or-., .--0-               .
     I     Oda'ea- • . . . . . . . • . • • . • . • . • . •




           ......., ...............................                                                        .
    13     Eall'nllild inc:ona8 Cld tEICl . • • • • • • • • • • • • •- •
    ....   ~CIIIIillllllfram~ OM12• OM•f't:IMI(tt o~
           04UII 05405 Ollll1 0..2C201DarZIU) Oall:m OIIII!!B3
           018111Sar DaiMir ~
    16     Totlillal'rii!3Unl- Wit! ll'llql:;;at::;far;;-:6Cl:liiii:;:;:db:;::,;i;iof;tilm;;w;t;:;to:'t.~tu:;;;,_.;il";dwll\ odghd mtum. andllllltillonal
           t1iDt paid Iller n!bm'\ -llad • . • . . • . • . . . • . . . . . . .




                                                                                                                                                                   US-0010533
                                                                                     028_1.0016
                        Case 1:18-cr-00388-RDM Document 101-1 Filed 02/05/20 Page 17 of 26
Mar 23 15 12:53p            Johnny Moore                                                             2022901078                               p.16




    S.Fam 1tu0orftJim fO«M~and.M:Jrm fOG'~
                                                                                                     ...
                                                                                                    lA.

                                                                                                           ........
                                                                                                          _,.._.;.
                                                                                                                          ·-
                                                                                                                     ......    ..........         C.c.-t

                                                                                                                                                  -~
                                                                                                                                                    lliiiiiiiiiiMir

     Zi    Yr::llllllel ll'ld sp::ge.   ~         It   ~          an c:ll!lm            .u a

     •     ~ JG~CBI'liCitCill!ilm ..
           Your~ltdtiwt
                                               -·llllbn
                                wm hid wilt! yaa-~   - . . -. -. . .
                                                                    ......      )'all
                                                                                               :a
                                                                                               M
     25
     •
           Yc:u~lt chlllbn tlllhD clld miMI wll1 you WI to dlllollce a lllllll!lldon
           at. dlpendala • . . . . . . . . . . . . . . . . .                                   ••
     %1    Total runblrof~ Add lines 23 through 26 - . . . . .                                 rt
     21    M-~llerunbwd ~ daliMd on h'Zibf htt~~~~~mpdcm
           I!II1DI'It shDIIm In . . ~ for b            21 for !hi , . , you Mil

     a
           amending. 9artha NIIILII haM llllnd an h 4 Clft pillllglll1 af tis form. .
           lltet.All_                                                                          •
            MAnit..,.                        l..tllEIID              cu Dill8 dallfs1IDCIIII
                                                                        ~l'UIIber
                                                                                                     .. _..!fa
                                                                                                    aaMI•ISIIIpiiD yau
                                                                                                                                   MC~M!M:kllalctr~
                                                                                                                                  dllld far child fml: c:.ndlOBe
                                                                                                                                          ~---
                                                                                                                                                ;
    -
   .- - ..1 biiJil:lw wll   not--.                        :fin
                                        J'CIIIIII't& or rllduc:e yaur Nfund.




             Qlllec.11td 11M111t in~ 1o -~ ,...,. allltChed. PIHse SIINI c:arespaudiii~JC~~t ditallug !heiRS CDdiiiS ll'ld aeln
             CD~dh~~llilng,dafm.

             PLEASE FDRWMD AU. MAIL AIID~TO:
             PO IEIOX 11428 WASHIIIGJDR, DC 20CIIII-CMZI.




    ..............
    ,.........
    ~~~
             ~
                          ~




                                                                                                                                                             US-0010534
                                                                         028_1.0017
         Case 1:18-cr-00388-RDM Document 101-1 Filed 02/05/20 Page 18 of 26




         To     UJhom..lf 11'1-Pri      C.ONt.'eXN '•                N    e;los.~ Lfoq_
   Wil( (t'N~ $f1!1'r\fE-~ 6 fi                             Cl-{2 ftmf-NJ£<( /D Lf~_k

  A /ow~      with thE.- rnx. Prt-~1\rc.;({~;jN~J Powcx o-B
 A- th r rJ e,t f, r rY\ • YW. :s GhM E.s. s To~ sn A.l (s A Irs A J1
                                                                 N


0N   f'i IE.   (u·    G/ if Nt.s 0o~rvw~ !4Nt.{rf,ws Moort>                                                                          3"1/f
1)-IV~ l='M (_;[ 10r,k      fl'lMI'A-   r Mouu                                        35 7lf ...                                -
  fo f   (   ~ttrfhf-r Jlv fM htA-f111 }I)       <-folA.       l--14 N CAl Ni'i!tvf- £t'(itf.:r·
Aje.Nt nt         P"tlk#",;LaJ_- c2Cfo-           /Ol
             ~~~ #-d-o~ 5~.5- 6.;2..1 ~ {Jo/.."w1 Jtlr.Jf&wJ
            cfi-1 ( #- ;J-.6~- 9D'7- 93 t{f? UJ1 ftf Ift J'Yim:)             r
rvtfn)lrv~i Po 't>ox. 15tf)~                             "'
             WPr~ h P u ;Lo oo3                                                o.(' ;q)-1-a
                                                                      ~
                                                                          ...~<".t    ~
                                                                                         ~u.
                                                                                                 ~
                                                                                                 ~a
                                                                      9~             ()<r.   ~.)} :'l?.o
                                                                           ~[' ~ ("D ~p
                                                 k 4ou..,.
                                                   'J\.f
                                                   ""
                                                                              ·~ ')I~ <.1"> '3.~
                                                                               {g, G'.c:- ~'}.. ~
                                                                                             ~                               ~-:.,
                                         L'           ·
                                         -;::::>f;Y V\ (,
                                                           u                                         6'        "-..)"'
                                                                                                                              ·ceo~h
                                                                                                    . . q~·9.~~0......<'.-z~~.!1
                                                                                                 0 "'Ov.

                                                                                                                     "\,
                                                                                             •            :;;i"r,        v       "17('..      '


 ~ ~t,J\': m~:t-m~
                                                                                                            .. 4,.:)                 .....,




                                                                                                                               US-0010535
                                        028_1.0018
                Case 1:18-cr-00388-RDM Document 101-1 Filed 02/05/20 Page 19 of 26
Mar231512:27p      Johnny Moore                           2022901078


                                                     In reply refer to:     0469241048
       AUSTIN      TX   73301-0030                   Feb. 25 1 2015 LTR l05C           0
                                                     11111113574 201112 55
       71617617928562382155                          Input Op;   14868~1048   00005127
                                                                          BODC~   SB


       HARIA HODRE
       PO BOX 15428
       WASHINGTON       DC   20003-0428




       CERTIFIED HAil
       Taxpayer identification number: - - 3 ! 5 7 4
                          Kind of tax:   Income
                     AMount ~r cl&im : C        l5,DOO.Il0


                Date of claim(s) received:   Aug. 08, 20lii
                              Tax period :   Dec. 31, 21Hl



       Dear Taxpayer:

                               WE COUlDN'T AllOW YOUR CLAIM
       WHV WE'RE SENDING YOU THIS LETTER
       We disallowed your claim for credit far the period shown above.

       WHY WE CAN'T AllOW VOUR CLAIM
       We have disallowed your claim for abatement.  You did not submit a
       valid return within the thirty day time frame given to you in letter
       3l7&C dated April 3D, 2014.

       If you qualify, you may file a request to have your frivolous return
       penalty reduced.  Under IRC 67D2Cdl qualifYing individuals may file to
       have theiF frivolous penalty reduced to $50D.DO. For nora information
       visit our website at irs.gov, search far Form 14402. Form 14402
       contains eligibility. payment, and filing instructions.

       If YOU DISAGREE

       If you da not agree with our decision, you can file suit to recover
       tax, Penalties. or other amounts, with the United States District
       Court having jurisdiction or with the United States Court of Federal
       Claims. These courts are part of the judiciary branch of the federal
       government and have na connection with the IRS.

       The law permits you to do this within 2 years frau the date of this
       latter. If yau decide to appeal our decision first, the 2-year period




                                                                                           US-0010536
                                             028_1.0019
                   Case 1:18-cr-00388-RDM Document 101-1 Filed 02/05/20 Page 20 of 26
Mar 23 15 12:27p     Johnny Moore                             2022901078         p.3


                                                                             04&9241048
                                                        Feb. 25, 2015    LTR 105C   0
                                                        111111113574 201112 55
                                                         Input Qp:  1486841048 00005128

        HARIA MOORE
        PO BOX 15428
        WASHINGTON DC          20003-0428




         still begins from the date of this letter. However, if you signed
         an agreement that waived your right to the notice of disallowance
         CForm 2297), the period for filing suit begins an the date you filed
         the waiver.
         If you need farms, schedules or publications to respond to this
         letter, you can obtain them by visiting the IRS website at www.irs.gov
         or by calling 1-BDD-TAX-FORH (1-800-829-367£).

                                    HOW TO CONTACT US

         If you have questions, you can call us toll free at
         8.6,-883-0235.
         If you prefer, you can write to us at the address at the top of the
         first page of this letter.
         When you write, include a copy of this letter and provide in the
         spaces below, your telephone nuaber and the hours we can reach you.
         Keep a copy of this letter for your records.
                               ) _______________________________ Hours __________________
         Telephone Number C



                                                 Sincerely yours,




                                                 Jodi L. Patterson
                                                 Dir., Rtn. Integrity & Corr. Svc.
         Enc:losureCs):
         Publication 1




                                                                                        US-0010537
                                               028_1.0020
                         Case 1:18-cr-00388-RDM Document 101-1 Filed 02/05/20 Page 21 of 26
 Mar 23 15 12:28p           Johnny Moore                            2022901078         p.4



                                        1872           Department of the Treasury - Internal Revenue Service
          Form 668 (V}(c)
           (Rev.   Febn.~auy   2004)                               Notice of Federal Tax Lien
          Area:                                                            Serial Number
                                                                                                                    for OpdoMI Use tw Rli!ODI'ding Olfk:e:
          SMAll BUSINESS/SELF EMPLOYED AREA 13
                                        (BOD> 91S-6050      119133314                                               • This Notice of Federal Tax Uen hu
            As provided by section 6321 1 632.2, and 6323 of the Internal Revenue                                     been filed Ills a matter of public record.
            Code1 we are giving a notice that taus (Including interest and penalties)
            have been assessed against the foUowfng~named taxpayer. We have made e IRS will continue to charge penalty
            a demand for payment ot this liability, bullt remains unpaid. Therefore,  and interEt until you sallsfy the
            there is a lien in. favor of the United States on all property and rights to                              amount you owe.
            property belonging to this taxpayer for the amount of these taxes, and
            additional f!!n&ltles, Interest. and costs that mar accrue.                                             • Contact the Area Office Collection
           Name of Taxpayer                                                                                           FunctiOn for information on lhe
                                   JOHNNY A MOORE                                                                     amount you must pay before we can
                                                                                                                      release this lien.
00151'7
                                                                                                                   • See dle back of lhis page for an
          Residence                                                                                                  explanation of your Admirislrallve
                                   PO BOX 15428                                                                      Appeal rights.
                                   WASHINGTON~ DC 20003-0428
            IMPORTANT RELEASE INFORMATION: For each usossmcnt listed below,
            untess notice of the llon Is reliled by the date eiven in column (e).lhls notice shall, on
            the day f!lllowlng such date, operate as a eertificale of release as defined in IRC
            6325(a).

                                  Tax Period                                         Date of           Lut    Day for           Unpaid Balance
          Kind of Tax                  Ending     Identifying Number             Assessment               Reflllng              of Assessment
                   {a)                   (b)                (c)                          (d)                 (e)                           (f)

           6702A                 12131/2011        XXX-XX-3979                   08/11/2014           09/10/202ti                       15000.00




          Place of Filing
                                       OFFICE OF RECORDER Df DEEDS FDR
                                       WASHINGTON D.C.                                                             Total             15000.00
                                       WASHINGTON, DC 20001


          Thls notice was prepared and signed at _ _a_A_l_TI_H_o_R_E_~_HD
                                                                      _ _ _ _ _ _ _ _ _ _ _ _ _ , on this.


                                                                        2014 .

          Signature
                                                                                 Title
                                        ~~                                        EVENUE OFFICER                             23-03-i!i749
          for W. STARK                                                          C80~)  916-8129
             (NOTE: C4!11'1ifk:ate of offlcel' authorized by law lo take acknowledgment is not essentlallo !he validity of Notice of Fl'ldenil Tu Uen
             Rev. Rul. 71-466. 1971 2 C.B. -409)
                                                         Part 3 -Taxpayer's Copy                                                                  CAT. NO 60025X
                                                                                                                                                       t~:r.... m.n&l
                                                                                                                                 ;:......, AAA /V\It'!c\


                                                                                                                                                           US-0010538
                                                                          028_1.0021
                  Case 1:18-cr-00388-RDM Document 101-1 Filed 02/05/20 Page 22 of 26
Mar 23 1512:28p        Johnny Moore                                            2022901078




 tr..a
 tdlJf
       IRS 1111_,1
           Depsrlmcnt cr 11tc n•'lllY
                   ilte'fHIIII Snvlco         CERTIFIED MAIL
    CCP-lU W. STARK                                                               Letter Date:   09/2!/2014
    P.O. lOX 10085, IOOH B6D                    71617618363749177985              Taxpayer ldenUffcaUon Number:
    RICHMOND, VA 23240                                                             XXX-XX-3979
                                                                                  Person to Contact:
                                                                                   W. STARK
                                                                                  Contact Telephone Number:
                                                                                  UDi'il U6-81Z9
                                                                                  Employee Identification Number:
                                                                                   lOOZ8382Z7
             JDIUINV A MOORE
             PO IDX 1542:8
             WASHINGTON~      DC 20003-0421




                  Notice of Federal Tax Lien Aling and Your Right to a Hearing Under IRC 6320

        Dear JOHNNY A MOORE

        We filed a Notice oi federal Tax Uen on 09/23/2014 •
                    TypaofTax            To: Period            Assessment Date            Amount on lien
                      &702A             12/31/2011               08/11/2014                  15000.00




        NOTE: Please contact the person whose name and telephone number appears on this notice to obtain
        the current amount you owe. Additional interest and penalties may be increasing the amount on the lien
        shown above.
        A lien attache~; to all property you currently nwn and to ail property you may acquire in the future. It also
        may damage your credit rating and hinder your ability to obtain additional credit
        You have the right to a hearing with us to appeal this collection adlon and to discuss your payment
        method options. To explain the different collection appeal procedures available to you, we have
        enclosed Publication 1660, Collection Appeal Rights.

        You must request your hearing by UI./:S0/2014 • Please complete the enclosed Form 12153,
        Request for a Collection Due Process or Equivalent Hearing, and man It to:

                                           Internal Revenue Service
                                           P.O. BOX 10015~ RODM 860
                                           RICHMOND, VA 23240




                                                                                                                US-0010539
                                                        028_1.0022
                       Case 1:18-cr-00388-RDM Document 101-1 Filed 02/05/20 Page 23 of 26
Mar 23 15 12:29p              Johnny Moore                                                                  2022901078                p.6




       Fom2848
       lfi!N', Julil20l'll
                                                             Power of Attorney                                              Ole Na. 1$4S-01:50
                                                                                                                             Far INIU. Olliw'
       ~eldi!IT...,.
                                                      and Declaration of Representative                                    ~Or.
       lnilm:d . . . . ~                ..
                                                                                                                           Name
                         Pcwer of Attorney
                                                                                                                           T~---
                         Qualon: A . . - Fam 284tJ must be~tarfJ/!Jdt ~)'el'. Farm ZHfJ Will nor 1:1e flliMied
                         ftJI'sny ~ Clbtt'rhan ,._.~.I'Jetola rtae IRS.                                                    ~----
                                                                                                                           ~:~ale I I
                                                                                        2.h7.




       h4nllya~hll~~tMI(s)•al~i11-flld:
         2      ~                            aMI date.,. b'm lXI P11Ji1'112, Pin II.
       Ncmlllt lind~
       CHAR ESE .I 0 <f:Jfiui~
       PO SOX129
       AI ERDEEN•.~;..) t:~ :;;n
       Chekif !Abe ant




                                                                                              CAFNo. - - · - - - - - · - - - - - -
                                                                                              T~No.



                                                                                       ~"~~.:: i~~·~--:          .
                                                                                              PTIN - - - - - - - - -




                                                                                         1g,;!C. LEJ]Jfl$, ; .




         c      Spaclk \1111111 not~ em~ AdlO~ 1'114111CN'J. If me power of~ Is for a spec:~~~c Llllll!l Mt ~ m CAF.
                t:hllll::tc d'lil!laLS.the ~farU'ne4. Splcllc UHHGI Fl-rdiad~ CAl"' • • • • • • • • • • . • • • • Jlro                          0
        &I      ~--~In adl:lllloft 10 lhe-lis1ed on                          h3llbwe.l eut~my~IMil($) kl pertonnh ~Ids !He
                ~l'orh&lllfor-.WDm'lolltiotO:

               O~discll:lwnltolhild~                       O~cr•dd~ 0SJgn•mum: --------~--



               Dam..-~------------------------------------------------------




                                                                                                                                                    US-0010540
                                                                                028_1.0023
                                 Case 1:18-cr-00388-RDM Document 101-1 Filed 02/05/20 Page 24 of 26
Mar 23 15 12:29p                   Johnny Moore                            2022901078         p.7




                                                                                               IIIJJ'rtlll~Tf>t! !O   Ot."ll!!rn11ie nego/IU!e .2ITy Cl'tecll itr.::Judln{.; CllrecDng cr
                  a.tcej:lti!l!l paymen! by itlT'f means. ~froo1c or clt"of.'WISII. mrc en ~~ OllmV!:I or conlrollei:l by the: ~~r.M ..·tts' t:Jt Sri)" ""'" Ot .:~ll•o:~<
                  rmtilv with •unom the roprv..ent::.ti\lalt:.l>= \~l =ci::ll.ol.1\l=uoo b'i th!l £!17Jcm;·nrml in Nl:Opilet ot;: 100-aol t:ll< 6til.';.
                  i.i:o.l """l' "pocifoe chlolmn~> to th.. =t:. cthorwi;.o aulhori!!<od iro tl'\in power ~:>I ~Iemay ~ r."l.'.llt'\1~ f<:>r lr.c S!l)!


                  RPtl'tltlnn.'~ncminn nf prior D~rtlll of !lite~. rM lil'"9 r.ll tl'lis ~ <:~! ~!l.Dm!!Y :~u:,'lol:'rlfit-.;!Zij. r"!Vnil<"f. aa Mr.., j:lt"'\~") nf
                  llffi'lrnt:\>· on tlio •,1nfll!ho lntC!M! ~o- ~;;a fur !l'lt: :xu~ rnolle.-:; and 'feflf.S •.if po-.rW:; •..m'l:lm! by !l1is u:.ll.'\ll>ll::lll. I' \'W do not w:.r:l
                  to :-r:vol<c a.prior pcw.oer ol            d1oecll h,rro • •                                                                                                     .,.


         7        Slgmatur'll of lai!IPII)'!Zr. If a ta" m.:~llor c:once-rns .:1 1fillill' 1n whlcn a !Oint r~1.11r. wa:; !ih:!:l. ~::1ch spo~ l'!ttl!ll ~h. 111 :<.epl41'311! J)OWf!f nl oflarnev
                         Uiey :111! 3p~ling 11-.e :Aill'IG fl!i)f~lill~tl). II :lignl!d Dy 1!1 COIPQrllltl 01:1~. c.::~t:n<-.1', i;JIIIll\!1011. II!X ml\11~ PiJ"Tn~. !!lo:l!tl"~ltO;,
                 tMII'I il
                  rec-. admlnl$1mlar. or lfl.nll~ oo bel1.all of l.lle liilli:P!!Vf!l'. 1C!o!111fy I nat 1n.we 1r1111 W!hcnty 1c li!l'li'I!CUtl'l :~ torm o.~ ~.a:t nllhf< t:~xpayl!t
                 II»   IF NOT COMPLETED. SIGN EO, AND D.t;TeD, THE IRS WIU. RiiTURN THIS POWER OF ATTORNEY TO THE TAXPAYER.

                                                                                             1- ~       ?     ~u
                                                                                       ·--··-····•····· ..... I
                                                                                                 Dale




      u~ pe~NI1i- at l*!ury, tJy my sign<~h.1r-e be!ov.·l dl!dall!! tnn.t ---------~·----------·--------

     • lam not CUft1!1'1tly ~ or~ !rocn pradlc:e before ln. lnlemal RIM!rwe Serlnca;
     • I am Subjel::1 10 ·~ CMiainel:l in Cwcular 2:!0 i-!1 CFR. ~A. Part 1Dl. a& illmllndllc. IJDVI!IN'lg praetltll flolfCI'A :n.;, IM!It'TII.II Revlill'llJii SP.r'voCP.;
     • 1o:~m ~Zllr:tlo rs~t U'le laXPolyer klenlltlfld m P:~n 1101" the m.":!ttll'lsl spect~led tnuo;
     • ll'lm one or rhe Pollowlng:
                                                                                                                           =
        a Altomey-;~~ ~·In goCid llillll1i'.l<ng o:;l1he bar of lhc higl- cr.rur: ollillf juriadiclicln ~.nl.!olo\'1'.
        b Certified Public AccllUnt:ml-dulll QUalililld' lo pn~clice as Dl:.f!fliG!.c:i public ~!ant iro lhe: JIJZISdicilan Mt<>VJh bdow.
        c Enoolh:d ~11-ta!<OIII!d as an ag""t by tl!e ltii..,T"uol A.w.....,.. s..r..1c01 l'l'f'" "'" r'!!'QIJII'etn""b ol c;,cullll :!3C.
        d Oth~-B bona !ide ct!Bc:« OllhiiiiD<pay£1' ~!ac;:.n.
        e i'UII·TI-ne Emp~t~y~~e-a fu!HI!Tiel!l'llployet! 0: WI lu'ptjy;lV.
        t F<~mly Moambi!r-a meml:ler of the ~·s immediate ftomlly (101' ~lli. s~. paromt. c:uid, gral'll:lparf'rlt. gr-..ndehllc!. 5tll;>-oarent. s~·
             ch~d.     l:ll'olhef. or sister!.
        g fMlllecl Acill.laiV-tmt'OIIeic.l e en ~ry II\' IN Joint 3oati:J tor Ill!! Enrohmel'lt o~ Atlua= ur.clel' 29 U S.C. 124i! !IM all1tloliTV l'.:> prao::~ce oc~
             the lnt!!m!!l                Senlice IS Hmlted by 5eJ:IIan 10.3(d) ol Cll'tular :!30).
       1'1 Ul'll'.!f1miled Aell.lm Prepl!ror- Your rulltloril.y lo Ptll.etiee baf01a !N!Inlllt'NI Rlll'll!lnue Sel'llice is rlfflile<i. ','au ou<ISL l,.vt~ ~ elog•ble lo ~'!>" ln..
           retum under Dl!miMiion J<llC.II\llve pmpated 3."1d ::~gnlld ~ rerum. SM. Notico 201 1-6 and~ I'UW for ~tflnld i':N nowm p~an::;r;
           arnd rm~ rerum 111!'PJI'Illltll in tt.~rlnstru..tll.'lln$!FTIN required fOI' clea;grwrt~" h),
       1 Htl!gn'Jt.,.._ 1""' He!Ufl'l ~MiiJIIIIera<! '"' 3 1.3;1< •ctt.m pra~r slnC'IOO' lM nsq,..ir......_ ol t.;oOCI!On : o..: or o.rcu~ :l30. '(fJI.Ii' &Jih<>'1f\' to~
          ~Q beiOI"'Oble: ll'l!etNI ~Sill~ is hrmt..:i. Vw mud ~ blloon eli<;t.':llf.lc;                               1ne !'IM!m unag P.s:tn-.matocn M.1            me
                                                                                                                                                                      fll'l!l"liii"I"Ct ;;nd
          ~ the raw~r.. Sec Notlc:e 2011-Ei and Special .lllc$1ar ll!gisterod tu mt&Jm                                     arrd W!Ml'l:)l(ed I'll tum Pl'l!!PMDt:s in the
          lnitruct.icma CI'TIN ~ fGI" dnlgnaticln i),
       k Student Attorney or CPA-I'OCOI\Ias permiSSion 10 l'll!pr~~~:em raxpaye:s bafore lt!e IRS by VIrtu& or nii;t'hsr &t.:IIUS> as .a law. b:.!s!no!:S!I. cr acccamlll'l'J
         s!.udenl WOikl!lg tn ;m UTC M STCP. Sell ins1nJetions !Of Part II for acd!tiCII'Ji!l miCifmabcr. .:!N:I !UJutrllmltntll.
       r EI'IIOII<Id Ae'li1'1111'!'14W1 Plan Ag<ml-anrclled as a ti!!lfi«~ll pbln iQeJ\1 undel' the mqulremt'!n1s Qf C::11oll<ir 2:30 {lhe ;wltlOri!y to ;:;r.ac.t>e:.e oolore tn!!
         lnl.;orn;ai RevMu.J ~ os t'miled by -=:1101'1 10.3{e~l.
         ... lF THIS DEC!.ARA.TION OF RE.PRESENTATIVI:: IS NOT COMI'i'ILI"'"I                             StGNEO, AND DATED, THE IRS WILL RETURN THE
             POWER OF AiTORNeY. REPRESENTATIVES MUST' SIGN IN THE                                                        USTED IN PART I, LINE 2.. Se& :.t1!!' in:;Jn.JCfiOriS lor
             Po:!!111.
     Nota. Fot l.l'~QII:Jioom: d·f. cniP.r your ti11.!, pnsi!lorl. or relationship La !he la~'flr m t):j!' •t.,....emi!IQ jun.~Ciion' ectun>lt. S.... rl'!.l- ~J~Sir1>el~n<>         •rn- "'"" u
     ,..,. lf'.ot'e inlcrmatioo.

                                                              Sill'.~. cemf~!Jo.~.
                                                             11!1113irnllon. or ill1lol~l
                                                               numtw lri   a~il:ablcl.
                                                           So in:slrucllons lor Par. li lor




                                                                                                                                                                                                     US-0010541
                                                                                                   028_1.0024
                              Case 1:18-cr-00388-RDM Document 101-1 Filed 02/05/20 Page 25 of 26
Mar231512:30p                      Johnny Moore                            2022901078         p.8




 JOHNNY                                                                                                     'MOORE                                                                                                               3   9    7      9
If a   pin! l'lll'i!.lm~ S,;!o:JH'5f!n1 M'll& 1.-"'1:1 !ftillll                                             .lut-
 MARIA                                                                                                      ;MOORE
1-iom~~ a:id-;H~·-.;;;-~i i                         .;;it;;;·aP.o~;;o;;:;H' rru.t.:v.;,~·                        .
                                                                                                              ·~--*--               --·"                                             '"      >,(

                                                                                                                                                                                     : 'i'o:J!
                                                                                                                                                                                                   t   ,,   , .......
                                                                                                                                                                                                 ~-1'111.'11=41':
                                                                                                                                                                                                                        """'""



 11118 44TH PI..ACE SE
Cily, b:.ln ar pad otic:~~~, slalft, &I'd ZIP co&. II' vcz.! h - 11 mlg!'l ad:ii'H'L                                                       . ~t~~Hai.vl~wt:~!m):-'
WASHINGTON I 01:: 20019                                                                                                       ~~~~A'S1~~~-~;.j~-: ~ :t ·"- ,~~ · 8 .:~1~:f~~
                                                                                                                         Fo~ J)IOiri!IC!Ita'~ICIIy


               . . ~" -·-·"·-·-~·. -b-·~·~--·'·-~·-· -·-.. ·-~--£.~J1-.l.8 .. ~014. .
Amended return fiijng status. You I'I1USt check one box even if you am nol changing your filing status.
                                                                                                                                                                          .    •'4


cauum. .111 genera/1 you cMII'Kit cmnge ygm fiing .sratus tom pmt to ~~t.e.                                   ml~ms.~:r, 11-e due date.
                                                                                             i'~ ·- '~;t 1t ""J>.PI"M•,f'
0 Sk:QIC                          0 ~flUng jointly                     0 Mllr.ried fi~ng scparo''f.:? ;;: ~t.ii
0 OG:!Jiyir.g Vlil:k:lw(ar)       0 liNd of l'.c t.ISOIIDI:I (II' the cp.~~allylng plml:)n is 01. c:J-JI:f &i.!fi"'.Otyix.:r depC'I'Jdcr.t. see lr.stru::;ti::os.l
                      U .., p ... (I[ on th e .__...._
                        :~~e a..
                                                       t "'"'""' ·              ""'"'
                                              Ud...... o """'~""tun any ~"" .anges                                      .·Ao!Cl'lginalamot~nli   B.Nlttd'laml-
                                                                                                                               u i"-"':rt~ al:l:l:l"ll: of :OOHIIU&
lncome ancfDedilCtbns' . --··                                     ,   * ' ....   -~   .•   '"·- •• '' •     ••
                                                                                                                        ·       ~~:~;:.~~tid       cr (l:ii!IO-''ililllil!-
                                                                                                                                                           ji:JH !:-1..-.u:.lmSj I     e!lp•aln;, Part Ill              f
   1         AdjUSted gross lncoma. If net operating loss (NO!.} carryback is                                                                                              44,18                 o         44,'1'29
             included, -;:neck h«e . . . . . . . .                       1111-- 0 ' ; .. 1 -·                                                                          _  . . .. .•
   2         Itemized deductions or standard dedtic:tbn                                                                                            ......::2::.,......_____1....:6,0_1_D_ _ _ _ _...;-_ _ _1~1:~,01-·o:--
  3          Subl.ract linE! 2 from line 1                                                                                                                                    _ _ _ _ _ _ _ _ _ _ _21_...;.;t_1_9
                                                                                                                                                   __;3::........_____2_8~,1_1&
 .4          Exemptlans..llf c:hanging, complete Part Jon pap 2 and enw the                                                                                               7,4110.                                                         7,400
             amaunlfnui:'lllne 28 . . . . . • . •
   5         Taxable income.. Subtract line -4 fmmline 3 • . . • . . . • • •                                                                           5                20,719:                                     0                    20,719
Tax Uabilty
   6         Tax. Enter me!.hod used to f9ure tax (see instructions):
              2011 TAX TAIBLE                                                                        "'                                                6
   7         Credits. If general busii"'I!SS cmdil                                    eatrybaCk is.              incluc:lc!d, chac:k                                            0                                   0 :                          0
             hera. .                 . . . . . . . . . . . . . . . . .                                                                     !It-[};-·...::7:--'----~~-------::-------::-:-=:-
   8         Sublract line 7 from In&&. I rI he result is zero or tess, enter -0-                                                                    8         2.259                   2,259                        o
   9         Olher tuu '                                                                                                                             9                        O:
 10          Total tax. Ac:!d tiles sand 9 . . . • • • . • • . . .                                                                                 . 10 '
Payments
 11          Federal income tiDe wil.hheld and exce&Ss.ocial security am:ltiet1 RRTA     2,37t      0      2,37'l
             tax withheld l(tf cbanging, see instnu::UOS'Is} • • • • . • • • • • _..:..11-=-------------:-----
 12.         Estil"'l!!lted tax payments, including amount applied' from prior year's        0      0          0
             rewm                              . . • , • . . . . . . . . . . • .                                                                                                                   ',.,.,,~,~•" 0 ' , .     ••n'

 13          Earned income credit ISC) . . . . • . • • . .                                                                                                                                                          0
             Aelufldible credits from Sdledulet;l Dea12 « 0 M or Fom~~) 0243&

                                                                                                                                                       .• I
 14
             04138 054ns Oaeot 0U12(2DIOor2011) Oss3S                   0M63                                                                                                    0,                 416,200                           4'f6,2GO
             0 8885 or GIO!hcr (specifY)~ 128'1' SUPPOR11NG DOCUMENT
 15          Total amount paid With request ror exlensloo or lime Lo file, tax paid with origilal retum, and additional
             tu paid .aner return was filed . • . . • • • • • • . . •                                                   _. ..;.15;;;....,.)_ _......-~.;,.ll
 16          Total pavmenlS. Add lines 11 thto!Jgh 15                                      .     .        • •        .    .     .    .     .   .   .    . .     .   .                                           16                   41 B.S7<~
Refund or Amount You Owe (Note. Allow 8-12 weelcs m p~ Form 1040X.J
17 Overpayment, ir .any, a.sshown on orlginalretum or as previously adii.ISied by lhe IRS.                                                                                                                  ·~n=-"1__"""::'::-:::-::1:=12:::-
 18          Subtractline 17 frcun lin• t 6 ~rless than uro, utlinstruetions) . . . . . . . .                                                                                                               _1.:.:8:::...,._ _ _4.,..1.,..8.:..,4_51~
 19          Amount yourowe.ll6ne10, column C. is mare than Tine 18. elier lhe aifrerence                                                                                                                   ~19~--""":"::'-.::-:::-:::::o:-
 2.0
 21
             If line 10, column C, S.leu than &ne 18, entet !.he diffl!l'«u::a. This. is the aroourlt overpaid oo this retum
             Amount of lie 20 you want refunded ta you                    . . . .                          . . • • .                                                                                        ~
                                                                                                                                                                                                               20
                                                                                                                                                                                                                        _________
                                                                                                                                                                                                            :-"".;;.......;
                                                                                                                                                                                                                21·:-
                                                                                                                                                                                                                               416.200
                                                                                                                                                                                                                               416,200
 22          Amol.l'll of&NI .2!) eu wan I applied to your (enter yea,:                 estimated tax • .22                                                                                                 I
                                                                                                                                                                          Complete Md 11ign tllis form on Pago 2.




                                                                                                                                                                                                                                         US-0010542
                                                                                                                     028_1.0025
                                 Case 1:18-cr-00388-RDM Document 101-1 Filed 02/05/20 Page 26 of 26
Mar 23 15 12:30p                    Johnny Moore                                                                                         2022901078                                       p.9




                                                                                                                                         A. Cjiljiiiit nr.l!!'llllflr
                                                                                                                                          of--m'II•IIUl•
                                                                                                                                         a-A~~~It"                      III.H..t-.
                                                                                                                                              .UWYA.il'f'
                                                                                                                                                    ;~

                 VCILI~ Md ~-                   CiwtiOD. If somsane                  Claim you as a
                                                                                              COifl
                 ~l!iflt, J.<'dU OIMDtdamsn~tim for youts~~l. . . . .
                 Yoor dependent chlkhn who iwld !Mt.h you . • • • • • . • • • ~
                                                                                                       -7~::-r-------------­
                                                                                                                                       I
                 VoLT deper.d!!nt ctJI:m!r. WI"D did r.ct rwe with ~'Oll d1.11 to :1NO!CI! !lr ~;,e,,.
                 Other dependents • • . . • • . . • •                              • • • . • .. •
                 Tctalru..mbar d eun,ticns. Add linu23 thi'DUgh 26 • . • . .. • -=u:::-:!---------------
                                                                                                        ~
                                                                                                                                  21
                 Mullipjy the number c:l eemption& dairMCI en line 27 by the c:c:cm~
                 a.rn:runt shown in the in&tNctlons fat line 2fl for the year you ara
                 8l'l'l8mtng. EJUr the resut hem Cll'ld on 11114 on page1 of this form. . 28 .
                                                                                                                                       II
                 Us!: AlL dependants {childiWia'ld others} dal!'lllld _on Ibis .!il'llanded ..tum. !f.-mer==.
                                                                                                           ::;.e-':th'::"'an-4:-d-:-epe-rd-:-e-:ra,-see-'::"'ins_tru_ot":":ions.
                                                                                                                                                                         _ _ _ _ __

                                                                                                 1,12) Dt:!pt!f:dm's !I:X:Iilll                                              (d) CI'.C""..k !:lox If :tr.olllitvlr~
                                                                                                                                            I=) D!!pet";di:!r.l's
                                                                                                                                                                           :::l'jtl br :::l'ill:l Wt:::n:!di ~
                                                                                                      :.ca.."ri\1 r.a.mber               relatbr.sl:fp t:1 y.~~~o;
                                                                                                                                                                                      lr:stti.ecbt'.s}
                                                                                                                                                                                             n
                                                                                                                                                                                             0
                                                                                                                                                                                             0
                                                                                                                                                                                             n
    Checking below wll net inct4!11Uoe your tmc or l'flduce your mrund
     r.       Check l'1lmll if you did not previously want $3 to go 10 the fund, but a.:ow do.
                          here if this is a     return and               did not ptaviOI..I.!Iy want S3 to go to thea rund. but now doe.s.
                                                                   p;inii:tVd tu:UW". t1;;; uo wfiy· j~iiJ"'aa"E'Iilhiy Fc:nm 11MUX.
                                                           ._,-,;;.;. .;;;;o;;;;;.:;;;;

                          IJll. Aliac:h any supporting documents ana new or changed forms and tchedtlll!ls.
                     FORM 32:81 IS ATTACHED FOR SUPPORTING DOCUMENT. THE TAlPA~ FURNISHED AU. SUPPORTING IJOCUMENTS FOR
                     TIII:1!.D~1   A.".U::NCIICNT.Ir AOOmDNAL CUPPDI1TINO OOCUMC:NTA'TION IS fJf:t:Ot:D PL.EAGE CONTACT THE TAXPAi'BU.




    Sign Here
    Ramambetto lcHpa copy of thla formforyourreccrds.
    Urder ~cdties at Pl!f)uy, 1 dcf:lare thll! I l-aw: ftled ar. crigir.GI rct~:m I:IM 11".at I i"AIKl cumlr.l!d ttlil ~:~mCr.dl!d ~ ir.cl~,;dk-; n.."i::mpor.~ir.g
    ~lcs     ur.d sratcmma. ar.d 1o 1l".e best of my kllOvMdge ar.d beld, tis 1111"CM~ ~Is tn.e. catm=t. u.d c::mplctc. Dccmctior. of PfCPMli'
             tupaycr) iS bll.ed on all r.mrmatlr:m abot.1 wtJchtt:c IJR!PD«.lf !'las llr.Y ler.cvlledgc.
    {atl"..cr ~ar.                                                                                                                                       ttl
    ~~~~                                                                                  ;;--L-Il{ ~..tii~=::"L                                                                           ~~-~)~
    Paid llllt'illldillliiiiH'
                                                                                                              PRODIGY ACCOUHTING liRYICEI
                                                                                                              F....,_'s'llt'M !Ill' )'On J •f-·:~~~
                                                                                                              PO BOX 129 ABERDEEN MD 21001
                                                                                                              F:-m''ll ad:! "'Ilii £'I'.:! ZIP~
                                                                                          C Cfi!Clll 1Hi'-tmp~                          4437521181




                                                                                                                                                                                                        US-0010543
                                                                                                      028_1.0026
